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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

   UNITED STATES OF AMERICA,

                        Plaintiff,

   v.                                              Case No. 3:08-CR-30099-NJR

   WARRICK SCOTT,

                        Defendant.

                             MEMORANDUM AND ORDER

  ROSENSTENGEL, Chief Judge:

         Pending before the Court is a Motion for Compassionate Release filed by Defendant

  Warrick Scott (Doc. 218). For the reasons set forth below, the Court denies the motion.

                             FACTUAL & PROCEDURAL BACKGROUND

         Scott was charged in 2008 and entered a guilty plea in 2009 on five counts related to

  drug trafficking and possession of a firearm (Docs. 85, 115). Scott’s Presentence Investigation

  Report indicated that Scott had an extensive criminal history, with multiple convictions

  related to drug trafficking, as well as a conviction for reckless homicide. Scott was ultimately

  sentenced to 360 months of imprisonment, six years of supervised release, a $500.00 special

  assessment fee, and a total fine of $850 (Doc. 116). Following appeal, Scott’s term of

  imprisonment was reduced to 310 months, while the other terms of his sentence remained

  unchanged (Doc. 166).

         On September 14, 2020, Scott filed a motion in this Court seeking compassionate

  release pursuant to 18 U.S.C. § 3582(c)(1)(A), citing the Covid-19 pandemic stating that he

  has medical conditions including cirrhosis of the liver, obesity and knee problems, which he


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  argues make him particularly susceptible to Covid-19 (Doc. 210). Scott further notes that he

  did contract Covid-19 in June and was “bed-ridden for several weeks” but that he has since

  recovered (Id.). Scott further claims that he has not been provided any treatment for his

  underlying medical conditions (Doc. 210 at 2). This argument is contradicted by his prison

  medical records, which indicate ongoing treatment for number of health issues over the

  course of several years (Docs. 219-1, 219-2).

                                             ANALYSIS

  I.      Motion for Compassionate Release

       A. Applicable Law

          Under the First Step Act, inmates are authorized to bring their own motions for

  compassionate release after first exhausting their administrative remedies with the Bureau of

  Prisons. 18 U.S.C. § 3582(c)(1)(A). Certain courts have stated that in making such a motion, a

  defendant should bear the burden of showing eligibility for a reduction in sentence. E.g.,

  United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States v. Green, 764 F.3d 1352,

  1356 (11th Cir. 2014).

          A defendant may be eligible for compassionate release if the Court finds

  “extraordinary and compelling reasons” to warrant a sentence reduction. 18 U.S.C.

  § 3582(c)(1)(A). The Court also must find that the requested sentence reduction is “consistent

  with applicable policy statements issued by the Sentencing Commission.” Id.

          Congress has tasked the Sentencing Commission with compiling “what should be

  considered extraordinary and compelling reasons for sentence reduction, including the

  criteria to be applied and a list of specific examples.” 28 U.S.C. § 994(t). The Commission has

  specified that certain circumstances surrounding the inmate’s medical condition, age, and

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  family situation will constitute extraordinary and compelling reasons. See U.S.S.G. § 1B1.13.

  The Sentencing Commission also gives the Director of the Federal Bureau of Prisons

  discretion to distinguish other grounds that could be extraordinary and compelling enough

  to merit a sentence reduction, either on their own or in combination with another listed

  condition. See id. at cmt. n.1(D).

         Courts have in certain instances taken it upon themselves, however, to identify non-

  enumerated grounds constituting extraordinary and compelling reasons for compassionate

  release, even where the Bureau of Prisons has not done so. See, e.g., United States v. Halliburton,

  2020 U.S. Dist. LEXIS 102241 at 10 (finding extraordinary reasons where the defendant had

  underlying health problems in conjunction with the Covid-19 pandemic) (C.D. Ill.); United

  States v. Coles, 2020 U.S. Dist. LEXIS 72327 (C.D. Ill.); United States v. Lewellen, 2020 U.S. Dist.

  LEXIS 90195 at *8 (N.D. Ill.) (Noting court has joined “vast majority” of district courts in

  looking past “guideposts” of §1B1.13 criteria to construe what constitutes extraordinary and

  compelling reasons under 18 U.S.C. § 3582(c)(1)(A)(i)) (quoting United States v. Cardena, No.

  09-CR-0332 (-11), slip op. at 6 (N.D. Ill. May 15, 2020) (ECF No. 1890)).

         If an inmate can show that one of the eligibility criteria is applicable, the Court must

  then assess whether a reduction would be appropriate under the statutory sentencing factors

  described in 18 U.S.C. § 3553(a). U.S.S.G. § 1B1.13. Lastly, the Court must determine that the

  defendant is not a danger to the safety of any other person or to the community, as provided

  in 18 U.S.C. § 3142(g). U.S.S.G. § 1B1.13(2).

     B. Discussion

         The Court starts by noting that Scott does not satisfy any of the factual predicates

  listed by the Sentencing Commission as constituting “extraordinary and compelling reasons”

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  justifying compassionate release. Namely, he is not suffering from a terminal illness or other

  condition from which he is not expected to recover, he is under 65 years old, and he does not

  indicate any death or incapacitation in his immediate family.

         In the unusual circumstances of the Covid-19 pandemic, courts have been willing in

  certain instances to look beyond the enumerated list of extraordinary and compelling reasons

  listed by the Sentencing Commission, particularly where underlying medical conditions

  make defendants particularly susceptible to Covid-19.

         Here, Scott does appear to have certain health problems which might severely

  increase his vulnerability to Covid-19. Scott, however, has already contracted Covid-19.

  While there does appear to be at least a theoretical possibility that an individual might

  contract Covid-19 more than once, present research appears to indicate that it is unlikely. On

  the other hand, the nature of the acts for which Scott is currently incarcerated and his

  extensive criminal history lead the Court to conclude Scott may still constitute a danger to

  the community and that it cannot justify compassionate release in this case.

                                          CONCLUSION

         For these reasons, the Motion for Compassionate Relief (Doc. 218) is DENIED.

         IT IS SO ORDERED.

         DATED: October 19, 2020


                                                    ____________________________
                                                    NANCY J. ROSENSTENGEL
                                                    Chief U.S. District Judge




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